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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                             ENTERED
                                                                                          August 16, 2017
                                   UNITED STATES DISTRICT COURT
                                                                                         David J. Bradley, Clerk
                                    SOUTHERN DISTRICT OF TEXAS
                                        MCALLEN DIVISION

LONDRES INVESTMENTS, LP,                                  §
                                                          §
              Plaintiff,                                  §
VS.                                                       § CIVIL ACTION NO. 7:17-CV-00073
                                                          §
PENN-AMERICA INSURANCE                                    §
COMPANY,                                                  §
                                                          §
              Defendant.                                  §

                                                        ORDER

           The Court now considers Plaintiff’s “stipulation of dismissal,”1 and hereby memorializes

the oral order issued during the August 15, 2017 status conference, dismissing Plaintiff’s claims.

Federal Rule of Civil Procedure 41(a)(1)(A)(ii)—specifically employed by Plaintiff—provides

for dismissal of a claim without Court order so long as the stipulation is “signed by all parties

who have appeared.”2 However, Plaintiff’s stipulation was not signed by Defendant, and is thus

invalid. Nevertheless, Defendant indicated during the August 15, 2017 status conference that it

was unopposed to dismissal. Thus, the Court orally converted the stipulation into a motion to

dismiss, and granted said motion without prejudice. Accordingly, Plaintiff’s claims are hereby

DISMISSED WITHOUT PREJUDICE.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 16th day of August, 2017.


                                                          ___________________________________
                                                          Micaela Alvarez
                                                          United States District Judge

1
    Dkt. No. 28.
2
    Fed. R. Civ. P. 41(a)(1)(a)(ii) (emphasis added).

1/1
